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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


WHITEHALL PRODUCTS LLC,
a Florida limited liability company

              Plaintiff,

v.                                             Case No.:

STUSA SUPPLY GROUP, LLC,
a Georgia limited liability company;
CHRIS LINCECUM; LUCAS PAYNE;
and GAVIN MCCLEARY,

              Defendants.
                                        /

                                   COMPLAINT

         Plaintiff, Whitehall Products LLC (“Whitehall”), sues Defendants, STUSA

Supply Group, LLC; CHRIS LINCECUM (“Lincecum”); LUCAS PAYNE

(“Payne”); and GAVIN MCCLEARY (“McCleary,” and together with Lincecum

and Payne, the “Individual Defendants”), and states as follows:

                    JURISDICTION, PARTIES, AND VENUE

         1.   Whitehall is a Florida limited liability company doing business in

Hillsborough County, Florida.

         2.   STUSA Supply Group, LLC is a Georgia limited liability company

formed on September 2, 2020.

         3.   Lincecum is an individual residing in the State of Georgia.


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         4.    Payne is an individual residing in the State of Georgia.

         5.    McCleary is an individual residing in the State of Georgia.

         6.    Prior to the formation of STUSA, the Individual Defendants were

collectively doing business as “STUSA Supply,” an unregistered trade name.

         7.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §

1332 because the matter in controversy exceeds $75,000, exclusive of interest and

costs, and is between citizens of different states.

         8.    This Court has personal jurisdiction over the Individual Defendants

pursuant to Fla. Stat. § 48.193 because the Individual Defendants breached a

contract in this state by failing to deliver the Nitrile Gloves required by the

Agreement to be delivered in this state (each as defined below).

         9.    This Court also has personal jurisdiction over the Individual

Defendants pursuant to Fla. Stat. § 48.193 because the Individual Defendants

committed a tortious act within this state by fraudulently inducing Whitehall to

enter into the Agreement in this state, as detailed herein.

         10.   This Court has personal jurisdiction over STUSA Supply Group, LLC

because it breached a contract in this state by failing to deliver the Nitrile Gloves

required by the Agreement and by the Additional Orders to be delivered in this

state (each as defined below).

         11.   This Court also has personal jurisdiction over STUSA Supply Group,

LLC pursuant to the terms of the Settlement Agreement between STUSA Supply

Group, LLC and Whitehall providing that STUSA Supply Group, LLC consents to


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the exclusive personal jurisdiction of a state or federal court sitting in Hillsborough

County, Florida to adjudicate all legal actions or proceedings arising out of or

relating to the Settlement Agreement.

         12.   Venue is proper in the United States District Court for the Middle

District of Florida pursuant to 28 U.S.C. § 1391 because a substantial part of the

events or omissions giving rise to the claim occurred in this district, and pursuant

to the terms of the Settlement Agreement between STUSA Supply Group, LLC

and Whitehall.

                            FACTUAL ALLEGATIONS

         13.   Whitehall is a supplier of cleaning, maintenance, and facility supplies

to commercial and governmental clients throughout the United States.

         14.   This case arises from STUSA Supply Group, LLC’s and the

Individual Defendants’ failure to deliver a large commercial shipment of Superieur

Medical Exam Grade Nitrile Gloves (the “Nitrile Gloves”) to Whitehall, after

receiving a total of $3,203,750 in payments from Whitehall on purchase orders for

the Nitrile Gloves.

         15.   Following partial refunds paid to Whitehall and an initial payment

under a Settlement Agreement entered into between Whitehall and STUSA Supply

Group, LLC (discussed below), the Defendants continue to owe Whitehall

$657,000 paid to STUSA for the Nitrile Gloves, exclusive of interest, costs, and

attorneys’ fees.




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    I. STUSA’s Receipt of Payment and Failure to Deliver the Nitrile Gloves

         16.   In or about August 2020, Whitehall and the Individual Defendants

negotiated for the purchase and delivery of the Nitrile Gloves.

         17.   On or about August 31, 2020, the Individual Defendants d/b/a STUSA

Supply sent Whitehall a written quote to deliver 350,000 boxes of Nitrile Gloves to

Whitehall’s location in Tampa, Florida, for a total cost of $2,800,000. A copy of

the written quote is attached as Exhibit 1.

         18.   On August 31, 2020, Lincecum stated to Whitehall via email, copying

Payne, that the Nitrile Gloves            were readily available, required zero

manufacturing/lead time, would ship in 3-5 business days, and would arrive in the

Port of Miami approximately 26 days from shipment. A copy of the August 31,

2020 email is attached as Exhibit 2.

         19.   On September 2, 2020, Whitehall accepted the terms of the written

quote and issued Purchase Order 15875 in the amount of $2,800,000 to the

Individual Defendants d/b/a STUSA Supply for the Nitrile Gloves (the

“Agreement”). A copy of Whitehall’s Purchase Order 15875 is attached as

Exhibit 3.

         20.   Also on September 2, 2020, STUSA Supply Group, LLC was formed.

         21.   Upon information and belief, STUSA Supply Group, LLC was

formed by the Individual Defendants to continue the “STUSA Supply” business

(hereinafter, collectively with the Individual Defendants d/b/a STUSA Supply,

“STUSA”).


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         22.   On September 3, 2020, Whitehall paid STUSA a deposit under the

Agreement in the amount of $897,750.

         23.   Also on September 3, 2020, Whitehall sent three additional purchase

orders to STUSA for Nitrile Gloves in the total amount of $772,500 (the

“Additional Orders”). Copies of the Additional Orders are attached as Composite

Exhibit 4.

         24.   On September 4, 2020, Whitehall paid STUSA a $386,250 deposit for

the Additional Orders.

         25.   Pursuant to the Agreement, Whitehall was not obligated to pay the

balance of the purchase price until completion of an inspection and verification of

the Nitrile Gloves in Vietnam by a third party inspection service, SGS S.A.

(“SGS”), with shipment commencing immediately thereafter.

         26.   After entering into the Agreement and placing the Additional Orders,

STUSA was unable to procure an SGS inspection report for the Nitrile Gloves, and

could not so much as provide documentation to Whitehall that the Nitrile Gloves

existed or were available to STUSA at all.

         27.   STUSA repeatedly failed to respond to Whitehall’s requests for

“proof of life” with respect to the Nitrile Gloves.

         28.   Notwithstanding, Whitehall continued to work with STUSA to

attempt to successfully fill the Nitrile Gloves order pursuant to the Agreement and

the Additional Orders.




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         29.   On September 14, 2020, Whitehall transferred $1,977,500 to STUSA

following STUSA’s representations that its own supplier required “proof of funds”

prior to the SGS inspection in order to obtain shipment, for a total of $3,203,750

paid to STUSA as of that date.

         30.   On September 15, 2020, STUSA provided an SGS report to

Whitehall.

         31.   Whitehall was skeptical of the SGS report provided by STUSA, and

SGS later confirmed that the report was fraudulent (discussed below).

         32.   On September 16, 2020, as a consequence of STUSA’s failure to

perform, Whitehall’s own end-customer for the Nitrile Gloves under the initial

Agreement (and not the Additional Orders) cancelled its order with Whitehall.

         33.   Also on September 16, 2020, Whitehall emailed STUSA, cancelling

the Agreement and requesting a refund of its $2,817,500 paid to STUSA under the

Agreement (excluding the Additional Orders), so that Whitehall could refund the

amounts paid to it by its own customer.

         34.   Thereafter, in response to STUSA’s repeated representations that it

could obtain a replacement shipment for the Nitrile Gloves of equivalent amount

and quality, and in an attempt to salvage its investment, Whitehall continued to

work with STUSA.

         35.   On September 22, 2020, Whitehall submitted a request for validation

of the SGS report through SGS’s website.




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         36.   On September 23, 2020, STUSA sent Whitehall a Booking Receipt

Notice from Ocean Network Express (Vietnam) Co., Ltd., which STUSA

represented provided for 14 containers of reserved shipping capacity that it

intended to use to ship a full replacement Nitrile Gloves order to Whitehall. A copy

of the Booking Receipt Notice is attached as Exhibit 5.

         37.   The Booking Receipt Notice provided for a cargo cut-off date of

October 5, 2020, with an estimated date of departure for the vessel of October 6,

2020 to October 8, 2020.

         38.   On September 24, 2020, SGS responded to Whitehall’s request for

validation of the SGS report, stating that the report provided by STUSA was “an

unauthorized reproduction of an SGS document” and “thus of no value whatsoever

and we advise you to not rely on it for any purpose.”

         39.   Also on September 24, 2020, Whitehall and STUSA held a conference

call in which STUSA committed to securing a full replacement Nitrile Gloves

order, to ship from Vietnam in accordance with the shipping timeline provided by

the Booking Receipt Notice.

         40.   STUSA stated that to the extent it failed to perform, Whitehall would

be entitled to a “100% refund,” in addition to a 2% non-performance penalty.

         41.   Whitehall confirmed these terms with STUSA the same day via email.

         42.   On September 30, 2020, STUSA returned only $1,977,500 to

Whitehall in response to Whitehall’s request to refund the $2,817,500 paid under

the initial Agreement.


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         43.   As a result of STUSA’s repeated failures to deliver, Whitehall

arranged for a contact in Vietnam to inspect and confirm the existence and

progress of the replacement order in the relevant factory in Vietnam.

         44.   On September 25, 2020, STUSA confirmed that Whitehall’s contact

was approved to conduct such inspections, stating “we have been given approvals

for STUSA/ Whitehall verifying person to have access as requested.”

         45.   As of October 5, 2020, the cut-off date for cargo pursuant to the

Booking Receipt Notice, Whitehall’s contact had yet to be provided access to the

factory in Vietnam for inspection, and had yet to be given a firm date in which he

could do so, much less confirmed that the replacement Nitrile Gloves had been

loaded for shipment by the cut-off date for STUSA to meet its latest deadline.

         46.   Accordingly, on October 5, 2020, Whitehall emailed STUSA,

cancelling all existing orders and requesting a refund in full of all remaining

amounts paid by Whitehall not yet refunded, which was $1,226,250 as of that date.


     II. Whitehall’s Demand Letter, the Settlement Agreement, and Default

         47.   On October 22, 2020, Whitehall sent a demand letter to STUSA,

demanding payment in full in the amount of $1,250,755 within five (5) days of the

date thereof. A copy of the October 22, 2020 demand letter is attached as Exhibit

6.

         48.   Following STUSA’s receipt of Whitehall’s demand letter, the parties

continued to negotiate an amicable resolution to this matter.



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         49.   On December 17, 2020, Whitehall and STUSA Supply Group, LLC

entered into a Confidential Settlement Agreement & Mutual Release (the

“Settlement Agreement”). A copy of the Settlement Agreement is attached as

Exhibit 7.

         50.   Whitehall never entered into any Settlement Agreement or otherwise

resolved this matter with the Individual Defendants.

         51.   The Settlement Agreement provides, in part, as follows:

               a. STUSA Supply Group, LLC shall pay Whitehall the total sum of
                  $897,750 (the “Settlement Payment”), on the following payment
                  schedule:

                     i. $569,250 within forty-eight (48) hours of execution, and

                    ii. Beginning on March 1, 2021, an additional $328,500 in
                        equal monthly installments of $27,375 over the next twelve
                        (12) months;

               b. Effective upon payment in full of the total $897,750 Settlement
                  Payment, Whitehall and STUSA shall mutually release each other
                  from any and all claims, as set forth more specifically in the
                  Settlement Agreement;

               c. In the Event of Default by STUSA Supply Group, LLC, it shall
                  immediately become liable to Whitehall in the amount of
                  $1,250,755, representing the total amount owed to Whitehall, less
                  any payments made.

         52.   STUSA Supply Group, LLC paid the initial $569,250 payment to

Whitehall under the Settlement Agreement.

         53.   On or about March 1, 2021, Whitehall granted a 60-day extension for

payment of the first $27,375 monthly settlement payment.

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         54.   STUSA Supply Group, LLC failed to make any additional payments

to Whitehall under the Settlement Agreement.

         55.   STUSA continues to owe $657,000 to Whitehall under the Agreement

and Additional Orders, after accounting for all partial refunds and the initial

Settlement Payment, summarized as follows:


Date           Amount  Description                                   Running Total
9/3/2020       $897,750Deposit to STUSA (initial                     $897,750
                       Agreement)
9/4/2020   $386,250    Deposit to STUSA (Additional                  $1,284,000
                       Orders)
9/14/2020 $1,919,750 Balance to STUSA (initial                       $3,203,750
                       Agreement)
9/30/2020 ($1,977,500) Partial Refund to Whitehall                   $1,226,250
12/18/2020 ($569,250)  Initial Settlement Payment to                 $657,000
                       Whitehall


         56.   All conditions precedent to this action have occurred, have been

performed or have been waived.

         57.   Plaintiff has retained Shumaker, Loop & Kendrick, LLP to represent it

in this action, and is obligated to pay its attorneys a reasonable fee for their

services.

         58.   Section 12 of the Settlement Agreement provides that should any

party be required to take legal action to enforce the terms thereof, the prevailing

party shall be entitled to recover their reasonable attorneys’ fees and costs incurred

in such action.


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                                    COUNT I
                     Breach of the Agreement – All Defendants

         59.   Whitehall incorporates the allegations of paragraphs 1 through 58

above as if set forth herein.

         60.   This is an action for breach of contract against STUSA Supply Group,

LLC, Lincecum, Payne, and McCleary.

         61.   The Agreement constituted a contract between Whitehall and the

Individual Defendants.

         62.   STUSA Supply Group, LLC was formed for the purpose of

continuing the Individual Defendants’ “STUSA Supply” business.

         63.   The Additional Orders supplemented the Agreement and constituted

contracts between Whitehall, STUSA Supply Group, LLC, and the Individual

Defendants.

         64.   The Individual Defendants and STUSA Supply Group, LLC totally

failed to perform under the Agreement and the Additional Orders by failing to

deliver any Nitrile Gloves to Whitehall, despite accepting payment by Whitehall

under the Agreement.

         65.   Whitehall was damaged as a result of the Defendants’ failure to

deliver, including but not limited to by virtue of its loss of funds and damage to its

own end-user customer relationships.




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         66.   STUSA Supply Group, LLC did not receive any release from

Whitehall under the Settlement Agreement, because it failed to pay the Settlement

Payment in full.

         WHEREFORE, Plaintiff, Whitehall Products, LLC, demands judgment

against Defendants, STUSA Supply Group, LLC, Lincecum, Payne, and McCleary

for damages, including prejudgment interest, costs, and all other legal and

equitable relief this Court deems appropriate under the circumstances.


                                   COUNT II
        Breach of the Settlement Agreement – STUSA Supply Group, LLC

         67.   Whitehall incorporates the allegations of paragraphs 1 through 58

above as if set forth herein.

         68.   This is an action for breach of contract against STUSA Supply Group,

LLC.

         69.   The Settlement Agreement constituted a contract between Whitehall

and STUSA Supply Group, LLC.

         70.   STUSA Supply Group, LLC defaulted on the Settlement Agreement

by failing to pay the Settlement Payment in full. Specifically, STUSA Supply

Group, LLC failed to pay any of the monthly installment payments totaling

$328,500 following its initial payment of $569,250 under the Settlement

Agreement.




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         71.   On June 3, 2021, Whitehall sent a notice of default to STUSA Supply

Group, LLC under the Settlement Agreement, and STUSA Supply Group, LLC

failed to cure its default, constituting an Event of Default under the Settlement

Agreement.

         72.   Section 4 of the Settlement Agreement provides that in the event of an

Event of Default thereunder, STUSA Supply Group, LLC shall, without further

notice or demand, become immediately liable to Whitehall in the amount of

$1,250,755, less any monies paid by STUSA.

         73.   STUSA did not make any payments to Whitehall following its initial

$569,250 payment under the Settlement Agreement.

         WHEREFORE, Plaintiff, Whitehall Products, LLC, demands judgment

against Defendant, STUSA Supply Group, LLC, for damages, including

prejudgment interest, costs, attorneys’ fees, and all other legal and equitable relief

this Court deems appropriate under the circumstances.


                                   COUNT III
                  Fraud in the Inducement – Lincecum and Payne

         74.   Whitehall incorporates the allegations of paragraphs 1 through 58

above as if set forth herein.

         75.   This is an action for fraud in the inducement against Lincecum and

Payne.



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         76.   Lincecum and Payne’s statements that the Nitrile Gloves were readily

available, required zero manufacturing/lead time, would ship in 3-5 business days,

and would arrive in the Port of Miami approximately 26 days from shipment were

false statements concerning material facts.

         77.   Lincecum and Payne knew that these statements were false at the time

the statements were made.

         78.   Lincecum and Payne intended that these false statements would

induce Whitehall to act on them in entering into the Agreement.

         79.   Whitehall was damaged as a result of acting on these false statements

by entering into the Agreement and the Additional Orders on which STUSA could

not perform, despite accepting payment from Whitehall, including but not limited

to by virtue of Whitehall’s loss of funds and damage to its own end-user customer

relationships.

         WHEREFORE, Plaintiff, Whitehall Products, LLC, demands judgment

against Defendants, Lincecum and Payne for damages, including prejudgment

interest, costs, and all other legal and equitable relief this Court deems appropriate

under the circumstances.




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                             Respectfully submitted,

Dated: June 25, 2021         SHUMAKER, LOOP & KENDRICK, LLP

                             By:     /s/ Thomas F. McDonnell, Jr.
                                     JAIME AUSTRICH, ESQ.
                                     Florida Bar No. 84565
                                     jaustrich@shumaker.com
                                     dgregory@shumaker.com
                                     THOMAS F. McDONNELL, JR., ESQ.
                                     Florida Bar No. 85776
                                     tmcdonnell@shumaker.com
                                     dmazzarella@shumaker.com
                                     101 East Kennedy Boulevard - Suite 2800
                                     Tampa, Florida 33602
                                     PH: (813) 229-7600
                                     FAX: (813) 229-1660
                                     Counsel for Whitehall Products LLC




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